
79 So. 3d 132 (2012)
Leandro PEREZ, Appellant,
v.
STATE of Florida, Appellee.
No. 2D11-2461.
District Court of Appeal of Florida, Second District.
January 27, 2012.
*133 Carl J. Dicampli of Lorenzo and Lorenzo, P.A., Tampa, for Appellant.
PER CURIAM.
Leandro Perez appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850, which the postconviction court denied. We affirm. See Barrios-Cruz v. State, 63 So. 3d 868 (Fla. 2d DCA 2011). As in Barrios-Cruz, 63 So.3d at 870, we hold that Padilla v. Kentucky, ___ U.S. ___, 130 S. Ct. 1473, 176 L. Ed. 2d 284 (2010), does not apply retroactively in postconviction proceedings, and we certify to the Florida Supreme Court the following question of great public importance pursuant to Florida Rule of Appellate Procedure 9.030(a)(2)(A)(v):
SHOULD THE RULING IN Padilla v. Kentucky, ___ U.S. ___, 130 S. Ct. 1473, 176 L. Ed. 2d 284 (2010), BE APPLIED RETROACTIVELY IN POSTCONVICTION PROCEEDINGS?
Affirmed.
WALLACE, KHOUZAM, and MORRIS, JJ., Concur.
